                                                                                  ___        .FILED         ENTERED
                                                                                  ___        .LODGED __     RECEIVED
              FORM TO BE USED BY A PERSON FILING A MOTION TO VACATE,
               SET ASIDE, OR CORRECT A SENTENCE UNDER 28 U.S.C. 92255 NOV 2                          9 2011
                                 IN THE UNITED STATES DISTRICT COURT              '            AT BALTIMORE
                                                                                        'CLERK U.S. DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND                           DISTRICT OF MARYLAND
                                                                                BY                              DEPUTY

UNITED STATES OF AMERICA,                                                       ~


                    v.                                       Criminal Case No.:       W"Dq-07:0'i1D
G,.\)..• ~J.l~-.b'fqM~G                                      Civil Action No.:                  _
                                                             (Leave blank. To be filled in by Court.)
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_-S~~\lV
       I M~~\curcl '2.b..,~t\-
 (Full name, date of birt , IdentIfication
number and address of movant


                 MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

I.        Name and location of the court which entered the judgment/conviction being challenged.



2.        Date of judgment or sentencing.



3.        Length of sentence.



4.        Nature of offense (all counts).

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 5.        What was your plea? (check one)

           (a)       Not Guilty                                     l><1
           (b)       Guilty                                          [ ]
           (c)       Nolo Contendere                                 [ ]

 If you entered different pleas to different counts or charges, explain.




6.        Kind of trial. (check one)

          (a)       Jury                   1>4
          (b)       Judge Only             [ ]

7.        Did you testify at the trial?

          Yes [     ]               Nob(i
8.        Did you appeal from the judgment of conviction?


          YeslXf                    No [   ]

          If you answered yes, provide the following information:

          A.        What grounds did you raise?




          B.        What was the result?




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           C.        What was the date of the decision by the Court of Appeals?




 9.        Did you file a petition for writ of certiorari to the United States Supreme Court?

           Yes   IX]                No [    ]

           If you answered yes, what was the result?




           If you answered yes, what was the date of the decision by the Supreme Court?

          _~hu                     J,,)    201_U                                                _
 10.   Other than a direct appeal, have you filed any petitions, applications, or motions challenging this
judgment in any federal court?

          Yes [      ]              NoJ6
 11.      If you answered yes, provide the following information for each petition, application, or motion:

          A.        Name and location of the court where you filed.




          B.        Describe what you filed and the date on which it was filed.




          C.        What grounds did you raise?




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           D.        What was the result?




           E.        What was the date of the decision?




           F.        Did you appeal the decision?

                     Yes [                  No[

           G.       What was the result?




          H.        If you did not appeal any adverse decision, explain why you did not appeal.




 12.    Do you CURRENTLY HA VB PENDING in any court any motion, petition, or appeal concerning
the judgment being challenged in this petition?

          Yes [     ]               No   [Xi
          If you answered yes, describe what you filed, when, where, and its current status.




 13.     In most cases federal law requires that a motion to vacate or set aside judgment be filed within one
(I) year of the date your conviction became finaL 28 U.S.c. ~2255. If this motion is being filed more than
one year after your conviction became final, explain why it is late and/or why you believe the one year
limitations period does not apply.

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 14.    State BRIEFLY every ground on which you claim you are being held unlawfully.              BRIEFLY
 summarize the facts supporting each ground. If necessary, you may attach additional pages.

          A.        Ground One:          See-       aJ10-Cih eJ             ~if __

                    Supporting Facts:                                                             _




          B.        Ground Two:

                    Supporting Facts:                                                             _




          c.        Ground Three:

                    Supporting Facts.:                                                        _




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           D.       Ground Four:

                    Supporting Facts.:_




15.     If any of the issues that you are raising in this motion have not been previously presented, explain
which issues are being raised for the fIrst time and why.

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16.      Do you have any other sentence(s) to be served after you complete the sentence(s)/commitment
that is being challenged in this petition?

          Yes [     ]               No~

          If you answered yes, provide the following information about each of your future sentences:

          A.        Name and location of the court that imposed the sentence.




          B.       Length of the sentence.                                                       _


          C.       Have you fIled, or do you intend to fIle, a petition or motion attacking this sentence?

                   Yes [        ]            NoN"
         WHEREFORE, Movant prays that the Court grant him all relief to which he may be
entitled in this action.




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15.
 IDECLARE UNDER THE PENALTIES OF PERJURY THAT THE INFORI\1ATION ABOVE
 IS TRUE AND CORRECT.

             21- day of
 SIGNED THIS --                 .;./ol/~/?16r;r          , 00//


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                                                               gnature of movant)
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                                                   ::k J&) f P1/tf(.YLttNf) 2<:>'7~?~
                                                  (address of61ovant)




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